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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:20-cv-3170-PAB

  FALLEN PRODUCTIONS, INC.,

            Plaintiff,

  v.

  KELTON WADE SHRIVER et al.,

            Defendants.


                           RESPONSE TO ORDER TO SHOW CAUSE


            Plaintiff Fallen Productions, Inc. (“Plaintiff”) responds to the Court’s Order to Show

  Cause (“Show Cause Order”) [Doc. #10] why Defendants DOES 3-5, 7-10, and 12-17 are

  found within this district under 28 U.S.C. § 1400(a). In the Order, the Court found venue

  to be proper for Defendants DOES 1, 2, 6, and 11. Order at 3, fn. 2. As explained in the

  Memorandum of Points and Authorities below, Venue is proper for Defendants KELTON

  WADE SHRIVER (previously DOE 4), DOES 3, 7, 9, 12 and 14-17 because each is

  subject to the personal jurisdiction of this Court.




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                       MEMORANDUM OF POINTS AND AUTHORITIES

  I.        Brief Procedural Background

            On Nov. 10, 2020, this Honorable Court issued the Show Cause Order. On Nov.

  20, 2020, Plaintiff submitted the First Amended Complaint (“FAC”) [Doc. #11] alleging that

  Defendants KELTON WADE SHRIVER (“Shriver”), DOES 1-3 and 5-17 are liable for: (1)

  direct and contributory copyright infringement; and (2) violations under the Digital

  Millennium Copyright Act. Plaintiff filed a notice of dismissal of Defendant DOE 13 with

  prejudice [Doc. #13] that same day. Plaintiff filed a notice of dismissal of Defendants

  DOES 5, 8, and 10 without prejudice [Doc. #15] on Nov. 23, 2020. As explained more

  fully below, Venue is proper in this district for the remaining Defendants Shriver, DOES

  3, 7, 9, 12 and 14-17 (“Defendants”).

  II.       Defendants are Subject to Personal Jurisdiction in this District, Satisfying

  Venue under 28 U.S.C. § 1400(a)

            28 U.S.C. § 1400(a) states “Civil actions, suits, or proceedings arising under any

  Act of Congress relating to copyrights… may be instituted in the district in which the

  defendant or his agent resides or may be found.” “A defendant ‘may be found’ in any

  judicial district to which he would be subject to personal jurisdiction … Thus, for present

  purposes [(copyright claims governed by the venue provisions of 28 U.S.C. § 1400(a))],

  the personal jurisdiction and venue issues are essentially identical.” Allison v. Wise, 621

  F. Supp. 1114, 1118 n.2 (D. Colo. 2007).

            "In determining whether a federal court has personal jurisdiction over a defendant,

  the court must determine (1) whether the applicable statute potentially confers jurisdiction

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  by authorizing service of process on the defendant and (2) whether the exercise of

  jurisdiction comports with due process." Niemi v. Lasshofer, 770 F.3d 1331, 1348 (10th

  Cir. 2014). Since the Colorado long-arm statute “confers the maximum jurisdiction

  permissible consistent with the Due Process Clause…the first[] statutory inquiry

  effectively collapses into the second, constitutional analysis.” Spyderco, Inc. v. Kevin,

  Inc., Civil Action No. 16-cv-03061-CMA-NYW (D. Colo. Jul. 7, 2017) (citing Archangel

  Diamond Corp. v. Lukoil, 123 P.3d 1187, 1193 (Colo. 2005)).

            Personal jurisdiction comports with due process where a defendant has minimum

  contacts with the forum state and those contacts are such that assuming jurisdiction

  does not offend "traditional notions of fair play and substantial justice." Int'l Shoe Co. v.

  Wash., 326 U.S. 310, 316 (1945). The minimum contacts standard requires: (1) the

  defendant must have purposefully directed his activities at residents of the forum state;

  (2) plaintiff’s injuries must arise out of defendant's forum-related activities; and (3)

  exercising personal jurisdiction over the defendant comports with traditional notions of

  fair play and substantial justice. Dudnikov v. Chalk & Vermilion Fine Arts, Inc., 514 F.3d

  1063, 1071 (10th Cir. 2008) (internal citations and quotations omitted).

            Minimum contacts may be established under general jurisdiction or specific

  jurisdiction. Plaintiff respectfully asserts that minimum contacts are established under

  general jurisdiction for Defendant Shriver because he “…resides in this District,

  particularly, in Colorado Springs, Colorado.” FAC at ¶11, see also Proposed Summons

  [Doc. #14]. Plaintiff respectfully asserts that minimum contacts are established under

  specific jurisdiction also for Defendants. Specific Jurisdiction requires the lawsuit

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  "aris[e] out of or relat[e] to the defendant's contacts with the forum." Bristol-Myers

  Squibb Co. v. Superior Court of Calif., San Francisco Cty., ––– U.S. ––––, 137 S.Ct.

  1773, 1780 (2017) (citations omitted). To assert specific jurisdiction, the defendant must

  have purposefully directed his activities at the forum. See Burger King v. Rudzewicz,

  471 U.S. 462, 472 (1985). A defendant purposefully directs his activities at a forum state

  when he commits (1) an intentional act that was (2) aimed expressly at the forum state

  with (3) knowledge that the brunt of the injury would be felt in the forum state. See

  Calder v. Jones, 465 U.S. 783, 789-90 (1984).

  A. Defendants Purposefully Directed Their Activities at the Forum

  (1) Intentional Act

            The Defendants committed a series of intentional acts, purposefully directing their

  activities to this forum. The Defendants repeatedly distributed copies of Plaintiff’s motion

  picture Angel Has Fallen (“Work”) from Internet Protocol (“IP”) addresses of the Virtual

  Private Network (“VPN”) services from the Colorado Service Provider Private Internet

  Access (“PIA”). See FAC at ¶5, 24-25. The Defendants’ actions of repeatedly distributing

  copies of Plaintiff’s motion picture without a license (i.e., piracy) are violations of the

  “Conduct” clause of the terms of service in the registration agreement Defendants agreed

  to when they purchased VPN services from PIA. See Id. at ¶8. Per the “Conduct” clause

  Defendants agreed not to “…engage in…distributing any copyrighted…content…

  [without]…consent or a license from the content owner”. Id. at ¶8.

            In the Order, the Court stated that “plaintiff does not specifically state that these

  defendants used the VPN for the alleged copyright violation in this case.” Order at pg. 3.

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  As discussed above, the FAC expressly alleges that these Defendants used the VPN of

  PIA to distribute copies of the Work. See FAC at ¶¶5, 24-25. Moreover, with regards to

  Defendants Does 3, 7, 9, and 12-17, the allegations of infringements at the IP addresses

  associated with PIA were verified by Maverickeye UG (“MEU”). See Second Decl. of

  Daniel Arheidt [Doc. #11-5] at ¶¶2-12.

  (2) Aimed Expressly at Forum State

            The two factors that Courts have considered when determining whether an action

  is expressly aimed at the forum are: (1) whether the relationship arises out of contacts

  that the defendant himself creates with the forum State; and (2) defendant’s contacts with

  the forum State rather than defendant’s contacts with persons who reside there. See

  Walden v. Fiore, 134 S. Ct. 1115, 1122 (2014)).

            Here, Defendants’ actions arise out of contacts that the Defendants themselves

  created with the forum. Per the registration agreement, Defendants chose to purchase

  the VPN services from the Colorado Service Provider PIA and agreed to be subject to

  jurisdiction of Colorado courts. See FAC at ¶5. Nonetheless, in the Order the Court

  states, “…but these claims arise out of defendants’ alleged copyright infringement while

  using the VPN, and not a disagreement between defendants and CISPIA about the VPN

  Agreement.” Order at pg. 3. However, although Plaintiff is not currently bringing a claim

  based upon breach of Defendants’ registration agreement, Plaintiff respectfully submits

  that rightsholders including Plaintiff are third-party beneficiaries of the registration

  agreement.       See FAC at ¶9.     Moreover, Plaintiff’s claims for inter alia copyright

  infringement arise out of Defendants’ use of PIA to distribute Plaintiff’s motion picture in

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  violation of the conduct clause. Finally, Plaintiff respectfully submits that Defendants’

  agreement to be subject to the jurisdiction of courts in Colorado shows that Defendants

  expressly aimed their conduct directly at this forum.

  (3) Knowledge that Brunt of Injury would be Felt in Forum State

            Defendants are undoubtedly aware that their actions would cause injury, the brunt

  of which would be felt in the forum state. By repeatedly using the resources of PIA to

  pirate Plaintiff’s motion picture despite repeated notices, Defendants have caused legal

  liability for the Colorado company PIA, a harm for which Defendants are obligated to

  indemnify per the Indemnification clause. See FAC at ¶9. As this Court recently decided

  in Warner Records Inc., et al. v. Charter Communications, Inc., allegations including that

  the ability to download infringing content served as a draw were sufficient to establish a

  claim for vicarious copyright infringement against an online service provider. See Warner

  Records Inc., et al. v. Charter Communications, Inc., 1:19-cv-00874-RBJ-MEH, Doc.

  #157.

            Finally, by intentionally acting and aiming those acts expressly at the forum –

  namely pirating Plaintiff’s Work from PIA resources – Defendants acted with knowledge

  that effects would be felt in the forum. See Dudnikov, supra, 514 F.3d at 1077 (“…in

  satisfying Calder's first two prongs, plaintiffs have established that defendants acted with

  more than foresight (or knowledge) that effects would be felt in Colorado.”).

  B. Plaintiff’s Claims Arise out of or Relate to Defendants’ Forum-Related Activities

            Plaintiff’s claims arise from Defendants’ copyright infringements through their

  forum related activities, including purchasing VPN services through Colorado Service

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  Provider PIA and using those services to reproduce, copy, and distribute Plaintiff’s Work.

  See FAC at ¶¶5, 24-25.

  C. The Exercise of Jurisdiction Comports with Fair Play and Substantial Justice

            Having established minimum contacts, "it is incumbent on defendants to 'present

  a compelling case that the presence of some other considerations would render

  jurisdiction unreasonable.’…” Dudnikov, supra, 514 F.3d at 1080 (citing Pro Axess, Inc.

  v. Orlux Distrib., Inc., 428 F.3d 1270,1280 (10th Cir. 2005)). Since Defendants have

  already consented to be haled into US courts in Colorado in their PIA registration

  agreement, there is no further burden for them in this case. Additionally, significant

  witness PIA has its principal place of business in this forum state, further allowing for

  efficient and convenient resolution. Because Defendants aimed their conduct expressly

  at this forum and caused injury here, this forum has significant interest in resolving the

  dispute.

  III.      CONCLUSION

            As discussed above, Defendants intentionally and expressly aimed their conduct

  at Colorado and knew their conduct would cause damage in Colorado by using the VPN

  service of PIA to pirate Plaintiff’s Work in violation of the registration agreement, thereby

  satisfying the purposeful direction analysis as well as the minimum contacts test.

  Accordingly, personal jurisdiction comports with due process, satisfying the venue

  requirements under 28 U.S.C. § 1400(a).



  DATED: Kailua-Kona, Hawaii, November 23, 2020.

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